            IN THE COURT OF CRIMINAL APPEALS
                        OF TEXAS
                                       NO. WR-95,386-02


                  EX PARTE BYRON JERMAINE PROPHET, Applicant


                 ON APPLICATION FOR WRIT OF HABEAS CORPUS
                CAUSE NO. 1155797-A IN THE 337TH DISTRICT COURT
                             FROM HARRIS COUNTY


     Per curiam. YEARY, J., filed a dissenting opinion in which KELLER, P.J., and
SLAUGHTER, J., joined.

                                          OPINION

       Applicant was convicted of possession of a controlled substance with intent to deliver was

sentenced to sixteen years’ imprisonment. The First Court of Appeals affirmed his conviction.

Prophet v. State, No. 01-08-00863-CR (Tex. App.—Houston [1st Dist] Jan. 14, 2010) (not designated

for publication). Applicant filed this application for writ of habeas corpus in the county of

conviction, and the district clerk forwarded it to this Court. See TEX. CODE CRIM. PROC. art. 11.07.

       In two grounds, Applicant alleges that he was denied due process when the State used false

information to secure a narcotics search warrant and then used false trial testimony to obtain a

conviction against him. Applicant’s claims relate to the discovery of prior misconduct by former
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Houston Police Officer Gerald Goines, who was the primary witness against Applicant in his case.

Based on the record, the trial court found that Applicant’s conviction was obtained by false evidence

provided by Goines. Ex parte Mathews, 638 S.W.3d 685 (Tex. Crim. App. 2022); Ex parte Coty,

418 S.W.3d 597 (Tex. Crim. App. 2014). The State and trial court both recommend granting relief.

We agree.

       Relief is granted. The judgment in cause number 1155797 in the 337th District Court of

Harris County is set aside, and Applicant is remanded to the custody of the Sheriff of Harris County

to answer the charge as set out in the indictment. The trial court shall issue any necessary bench

warrant within ten days from the date of this Court’s mandate.



Delivered: August 21, 2024
Do not publish
